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                                       UNITED STATES DISTRICT COURT

                                           DISTRICT OF SOUTH CAROLINA

                                      ANDERSON/GREENWOOD DIVISION




              UNITED STATES OF AMERICA

                           vs.                                          CASE NO. 8: 18CR00484-DCC

              ANTHONY DANTE HOLLOWAY




                                                       PLEA


                    The Defendant, ANTHONY DANTE HOLLOWAY, acknowledges receiptofa copy ofthe

~~cll~ INDICTMENT and after arraignment pleads GUILTY in open court as to Count(s) '~.t 25,3 s.
 @



                                                                 I      (Signed) vnefendant



              Spartanburg South Carolina
              10/2212018
